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May 10, 2022

Via ECF
Hon. Leda Dunn Wettre, U.S.M.J.
United States District Court, District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

       Re:     Manetta, et al. v. Navient Corporation, et al.
               Case No. 2:20-cv-07712-SWD-LDW

Dear Judge Wettre:

         We represent Plaintiffs in the referenced matter. At the last status conference before
Your Honor on April 25, 2022, Your Honor directed the parties to submit a joint letter setting
forth discovery disputes on or before May 18, 2022 and scheduled oral argument for May 24,
2022. As Your Honor may recall, at the conference, I explained that counsel for Plaintiffs had a
trial scheduled in Florida beginning on May 2, 2022, but that I did not believe it would last more
than 2 days, and thus that Plaintiffs would be able to submit their portion of the letter to
Defendants with sufficient time for Defendants to prepare a response. Unfortunately, however,
the trial lasted much longer than expected (through the week), thus limiting the time to prepare
Plaintiffs’ portion. In addition, last week, Defendants produced a further set of documents,
which we are currently reviewing (in an effort to see if it may resolve any issues to be raised
before Your Honor).

        As such, with the consent of Defendants, we would respectfully request a brief one (1)
week adjournment of the time to submit the joint letter (from May 18, 2022 to May 25, 2022), so
that Plaintiffs may provide their portion to Defendants within a sufficient timeframe to allow
Defendants to prepare their response. Furthermore, since Your Honor will need sufficient time
to review the joint letter, we would also respectfully request that the oral argument be adjourned
for a similar number of days (or any day that is convenient for Your Honor). This adjournment
request will not affect the current schedule of Plaintiffs’ depositions, which will be completed by
May 31, 2022.

       As always, we appreciate the Court’s consideration of these matters.

                                                       Respectfully submitted,


                                                       s/Xavier M. Bailliard


                                                       Xavier M. Bailliard
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KRANJAC TRIPODI & PARTNERS LLP
ATTORNEYS AT LAW

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cc: All counsel of record via ECF
